Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 1 of 6




         EXHIBIT 69
 Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 2 of 6


6 Form TCS (Notice of Termination Cover Sheet) · Basic Information
Read all of the instructions below before completing this form.          the Office reserves the right to not process your submission unless all
                                                                         of the items necessary for processing are received together. Mail your
When to use this form Use Form TCS to submit notices of                  submission to:
termination to the Copyright Office for recordation under section 203        Copyright Office–Notices of Termination
or 304(c) of the Copyright Act. Use of Form TCS is mandatory, and a          P.O. Box 71537
properly completed Form TCS must accompany all notices submitted             Washington, DC 20024-1537
to the Office under 17 U.S.C. §§ 203 or 304(c).
                                                                         Recordation process To be recorded, your submission must comply
When not to use this form Do not use Form TCS when submitting            with the Copyright Act’s statutory requirements (17 U.S.C. §§ 203 or
any other type of document to the Office, such as transfers of           304(c)) and the Office’s regulations (37 C.F.R. § 201.10) and
copyright ownership, DMCA online service provider agent                  instructions. The Copyright Office will examine, process, and index
designations, identification of anonymous/pseudonymous authors,          the notice of termination in the public record based on the
author death statements, visual arts registry statements, shareware      information you submit to the Office. The Office will rely on the
registry statements, or any Licensing Division documents. In addition,   certifications and information provided on Form TCS and, if
the Office no longer accepts notices of termination for recordation      provided, in an accompanying statement of service. The Office will
under section 304(d) because such notices must have been recorded        not necessarily confirm the accuracy of such certifications or
before October 26, 2019. A copy of a notice that terminated a grant      information against the submitted notice. The fact that the Office has
under section 304(d) may be submitted for recordation as                 recorded a notice is not a determination by the Office of the notice’s
document pertaining to copyright under 17 U.S.C. § 205 in                validity or legal effect. Recordation of a notice of termination by the
accordance with the Office’s regulations. See 37 C.F.R. § 201.4.         Copyright Office is without prejudice to any party claiming that the
                                                                         legal or formal requirements for effectuating termination (including
How to use this form Follow these instructions to complete               the requirements pertaining to service and recordation) have not been
Form TCS. All fields are required to the extent applicable except        met, including before a court of competent jurisdiction.
for terminating party email addresses, which are optional. All
information should be typed or printed. Include one completed and        Privacy Act Advisory Statement Please review the Privacy Act
signed Form TCS for each notice being submitted for recordation.         notice at the top of the form. The principal uses of the requested
The Office may reject any notice submitted for recordation that is not   information are the establishment and maintenance of a public
accompanied by Form TCS or is accompanied by an incomplete or            record and the examination of the form for compliance with the
improperly prepared Form TCS.                                            requirements for recordation. Other routine uses include public
                                                                         inspection and copying, preparation of public indexes, preparation of
Submission requirements Submit together in the same envelope             public catalogs of recorded documents, and preparation of search
or package: (1) a properly prepared Form TCS; (2) the notice             reports upon request.
of termination to be recorded; (3) the proper filing fee; and (4)
any additional material being provided in connection with your           NOTE: Form TCS will be imaged with the submitted notice as part of
submission, such as a statement of service or an additional copy of      the public record. Please keep a copy of these instructions and the
this completed form and a self-addressed postage-paid envelope           completed form so that you may refer to them if the Office
for a return receipt. Absent special arrangement with the Office,        communicates with you regarding your submission.



Item-by-Item Instructions

Item 1: Title (and registration number) of first work identified         works and alternate identifiers determines the recordation filing fee.
in notice This item is used to connect Form TCS and the notice of        The first title and/or registration number provided for a particular
termination if they become separated. In addition to the title of the    work constitutes a work. If a work is identified by more than one
first work identified in the notice, the original registration number    title or registration number, every additional title and registration
should be provided if possible and practicable.                          number provided beyond the first counts as an alternate identifier
                                                                         for purposes of this item and in calculating the proper recordation
Item 2: Total number of additional works and alternate identifiers       filing fee. For example, if a notice were to refer to “Harold & Kumar 2
in notice Provide the total number of different additional works and     (PAu003086781) a.k.a. Untitled Harold & Kumar sequel a.k.a. Harold
alternate identifiers contained in the notice. The total number of       & Kumar Go to Amsterdam,” the first title and registration number
 Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 3 of 6
                                                                                          Form TCS, Notice of Termination Cover Sheet · 2


(Harold & Kumar 2 (PAu003086781)) would count as one work and               Item 9: Date of service Provide the date of service of the submitted
the two alternate titles would count as two alternate identifiers.          notice upon the grantee(s)/successor(s)-in-title.
    If a work is described as being part of a larger work, only the
specific work counts, and not the title and/or registration number for      Item 10: Manner of service Describe the manner of service of the
the larger work. For example, if the notice were to refer to “When You       submitted notice upon the grantee(s)/successor(s)-in-title. For example,
Wish Upon a Star from Pinocchio,” the title “When You Wish Upon             “personal service,” “first class mail,” “courier service,” or “email.”
a Star” would count as one work, but “Pinocchio” would not count
as an additional work or alternate identifier. For more information         Item 11: Terminating Party List each terminating party and the
about how to calculate works and alternate identifiers, see 37 C.F.R.       nature of such party’s termination interest under section 203 or
§ 201.3(c), 84 Fed. Reg. 29,135 (June 21, 2019), and 85 Fed. Reg. 9,374     304(c). For example, “John Smith (sole author)”; or “Nancy Jones
(Feb. 19, 2020).                                                            (author’s executor)”; or “Jane Smith (author’s widow), Mark Smith
                                                                            (author’s child), Jessica Smith (author’s child), and Richard Smith
Item 3: Amount of fee calculated Recordation fees are calculated in         (child of author’s deceased child).” Optionally, you may provide an
accordance with 37 C.F.R. § 201.3(c). For assistance in determining         email address for any terminating party listed. Where an email is
your fee, use the fee calculator provided at https://www.copyright.gov/     provided, the Office will copy the party on any correspondence sent
recordation/ and review Calculating Fees for Recording Documents and        to the remitter, for example, to notify the remitter that there are errors
Notices of Termination in the Copyright Office, available at https://www.   or omissions in the submission or that a certificate of recordation has
copyright.gov/circs/circ12a.pdf.                                            been issued.

Item 4: Fee enclosed Check the appropriate box. To charge a                 Item 12: Grantee List each grantee whose rights are being terminated
Copyright Office deposit account, provide the deposit account               or such grantee’s successor-in-title. Identify any successor-in-title as
number and name. If paying by check or money order, note that               such.
the Office only accepts domestic money orders and checks payable
through a U.S. bank with American Bankers Association routing               Item 13: Remitter Information and Certifications You, the individual
numbers. International and postal money orders are not accepted.            actually submitting this form and the attached notice of termination
Make the check or money order payable to U.S. Copyright Office.             to the Copyright Office, provide your contact information and
                                                                            make the required remitter certifications by signing your name and
Item 5: Return receipt requested Check this box to indicate that            dating the form. You may sign the form electronically. The Office
you want a return receipt showing that the Office received your             may use this information to contact you about the submission and
submission. If you check this box, you must also include a second           will send a numbered copy of the notice as recorded and certificate
properly completed copy of Form TCS and a self-addressed postage-           of recordation to the provided address if the notice is successfully
paid envelope. A return receipt confirms the Office’s receipt of the        recorded. Providing a fax number is optional. If you are not one of
submission as of the date indicated, but does not establish eligibility     the terminating parties, you must state which terminating party or
for, or the date of, recordation.                                           parties you are a duly authorized representative of.

Item 6: Notice of termination being filed under Check the box               Item 14: Notice Certifications Make the required notice-related
next to the statutory termination provision that the submitted              certifications by having them signed and dated by an appropriate
notice is being filed under, section 203 or 304(c). Information about       individual. They can be made either by you (i.e., the remitter
termination, including the differences between these provisions             identified in Item 13) or another individual and may be signed
can be found on the Office’s website at https://www.copyright.gov/          electronically. If someone other than you is making the certifications
recordation/termination.html.                                               in this item, he or she may sign the same copy of page 2 of the form
                                                                            as you did in Item 13, or he or she may sign a separate copy of page 2
Item 7: Gap Grant Check this box if the submitted notice is                 of the form. If someone other than you is making the certifications in
terminating a gap grant under 37 C.F.R. § 201.10(f)(1)(ii)(C). For more     this item, his or her name, title, and organization must be provided.
information about gap grants, see § 2310.3(C)(3) of the Compendium          Additionally, if such individual is not one of the terminating parties,
of U.S. Copyright Office Practices.                                         he or she must state which terminating party or parties he or she is a
                                                                            duly authorized representative of.
Item 8: Effective date of termination Provide the effective date of
termination. Note that the notice of termination must be recorded           For more information about the Copyright Office’s recordation
with the Office prior to the effective date of termination.                 requirements, see 37 C.F.R. § 201.10(f) and 82 Fed. Reg. 52,213
                                                                            (Nov. 13, 2017).
    Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 4 of 6


6          Form TCS (Notice of Termination Cover Sheet)
           For Recordation of Notices of Termination under 17 U.S.C. §§ 203 or 304(c)
           UNITED STATES COPYRIGHT OFFICE

           Privacy Act Notice: Sections 203, 304(c), and 705 of title 17 of the United States
           Code authorize the Copyright Office to collect the personally identifying                                    DO NOT WRITE IN THIS BOX
           information (PII) requested on this form and provided in the document
           submitted for recordation or other materials accompanying the submission.
           PII is any personal information that can be used to identify, contact, or trace         Volume                               Document
           an individual, such as names, addresses, and telephone numbers. By providing
           this information, including, but not limited to, providing it in any document or
           other file, you are agreeing to the routine use of it to establish and maintain         SR#
           a public record, which includes appearing in the Office’s paper and online
           public records and indexes, including the Office’s online catalog, and in search
           reports prepared for the public. If you do not provide the information requested,       Date of recordation M                      D               Y
           recordation may be refused or delayed, and you may not be entitled to certain                                 (ASSIGNED BY THE COPYRIGHT OFFICE)
           relief, remedies, and benefits under the copyright law.



           Copyright Office fees are subject to change. For current fees, check the Copyright Office website at
           www.copyright.gov, write the Copyright Office, or call (202) 707-3000 or 1-877-476-0778 (toll free).

Send to: Copyright Office–Notices of Termination, P.O. Box 71537, Washington, DC 20024-1537

DO NOT WRITE ABOVE THIS LINE • SEE INSTRUCTIONS

To the Register of Copyrights: Please record the accompanying notice of termination.


1   Title (and registration number)
                                                              THE 2 LIVE CREW IS WHAT WE ARE
    of first work identified in notice
                                                              PA0000384476; SR0000360735



2   Total number of additional works
                                                              2 albums
    and alternate identifiers in notice


3
                                                              $185.00
    Amount of fee calculated                              $                             (Fees are to be calculated in accordance with 37 C.F.R. § 201.3(c))



4   Fee enclosed                                                  Check                Money Order
                                                                  Fee authorized to be charged to Copyright Office deposit account

                                                                  Deposit account number

                                                                  Deposit account name


5   Return receipt requested                                      If checked, please enclose a second completed copy of this form and a self-addressed
                                                                  postage-paid envelope


6   Notice of termination
    being filed under                                             §203                 §304(c)



7   Gap Grant                                                     Check if the notice is terminating a gap grant under 37 C.F.R. § 201.10(f)(1)(ii)(C)


8
                                                              November 7, 2022; March 21, 2023; May 1, 2024
    Effective date of termination


9   Date of service
                                                              November 4, 2020



10 Manner of service
                                                              Federal Express




FORM TCS                                                                                                                                                          PAGE 1 OF 2
     Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 5 of 6

11   Terminating Party                             Mark Ross, Luther Campbell, Estate of Chris Wong Won, comprised of Roderick Wong Won,

     (List all terminating parties and the         Christopher Wong Won, Jr., Leterius Ray, Anissa Wong Won (the "Terminating Parties")
     nature of their termination interests.)


     Terminating Party Email (optional)
     (Provide email addresses for any listed
     terminating parties to be copied on
     correspondence sent to the remitter.)



12 Grantee                                         Lil Joe Records, Inc. and the list of parties identified in the Formal Notice of Termination filed herewith

     (List all grantees or successors-in-title,
     and if successors, state that they are
     successors.)



13   Remitter Information                          I certify under penalty of perjury under the laws of the United States of America that I have been given
     and Certifications                            appropriate authority to submit this cover sheet, accompanying notice of termination, and any other enclosed
                                                   materials to the U.S. Copyright Office for recordation, and that all information I have submitted is true,
     (You, the individual actually                 accurate, and complete to the best of my knowledge, information, and belief, and is provided in good faith.
     submitting this form and the
     attached notice of termination to             I understand that any falsification or misrepresentation may subject me to civil or criminal liability.
     the Copyright Office, provide your            By signing my name below, I acknowledge that I have read and agree to these conditions.
     contact information and make the
     required remitter certifications by
                                                                 /s/ Scott Alan Burroughs, Esq.                                            August 25, 2022
     signing your name. The Office may             Signature                                                                        Date
     use this information to contact you
     about the submission and will send            Name Scott Alan Burroughs, Esq.
     the certificate of recordation to the
     provided address if the notice is             Title/Organization Partner, Doniger / Burroughs PC
     successfully recorded.)
                                                   Number/Street 247 Water Street                                                   Apt/Suite First Floor
                                                   City New York                                             State NY               Zip 10038
                                                   Phone number 310-590-1820                                 Fax number
                                                             scott@donigerlawfirm.com
                                                   Email


                                                   If you are not one of the terminating parties listed above, state which terminating party
                                                   or parties you are a duly authorized representative of.
                                                   Lawyer and Duly Authorized Representative of all Terminating Parties




14 Notice Certifications                           I certify under penalty of perjury under the laws of the United States of America that the accompanying notice
                                                   of termination is a true, correct, complete, and legible copy of the signed notice of termination as served on the
     (These certifications can be made             grantee or successor-in-title.
     either by the remitter identified
     above or another individual.)                 I understand that any falsification or misrepresentation may subject me to civil or criminal liability.
                                                   By signing my name below, I acknowledge that I have read and agree to these conditions.


                                                                                                                                           August 25, 2022
                                                   Signature /s/ Scott Alan Burroughs, Esq.                                         Date

     Certifier Information                         Name Scott Alan Burroughs, Esq.
     (This information is only required                                     Partner, Doniger / Burroughs PC
                                                   Title/Organization
     if an individual other than the
     remitter identified above is making
     the above certifications.)                    If the certifier is not one of the terminating parties listed above, state which terminating
                                                   party or parties the certifier is a duly authorized representative of.
                                                   Lawyer and Duly Authorized Representative of all Terminating Parties




FORM TCS   REVIEWED: 03/2021     PRINTED ON RECYCLED PAPER                                                                                               PAGE 2 OF 2
Case 1:21-cv-23727-DPG Document 53-72 Entered on FLSD Docket 12/01/2022 Page 6 of 6
                                                                                                           August 31, 2022


Dear Customer,




The following is the proof-of-delivery for tracking number: 777792690932




Delivery Information:


Status:                        Delivered                                   Delivered To:                 Mailroom

Signed for by:                 R.WALKER                                    Delivery Location:

Service type:                  FedEx Priority Overnight

Special Handling:              Deliver Weekday;                                                          WASHINGTON, DC,
                               Adult Signature Required

                                                                           Delivery date:                Aug 31, 2022 12:40

Shipping Information:


Tracking number:                       777792690932                        Ship Date:                       Aug 29, 2022

                                                                           Weight:                          0.5 LB/0.23 KG


Recipient:                                                                 Shipper:

WASHINGTON, DC, US,                                                        Venice, CA, US,




                    Signature image is available. In order to view image and detailed information, the shipper or payor account
                                                    number of the shipment must be provided.




Thank you for choosing FedEx
